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             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                    )
DEVELOPMENT, INC.,                  )
                                    )
           Plaintiff,               )
                                    ) No.
    v.                              )
                                    )
MARIO SCORZA,                       )
                                    )
            Defendant.              )

                              Exhibit 4

            March 3, 2023 Claimant’s Post-Hearing Brief
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                                                BEFORE THE TRIBUNALS OF
                            THE AMERICAN ARBITRATION ASSOCIATION

MARIO SCORZA,                                                               §
Claimant,                                                                   §
                                                                            §
V.                                                                          §           NO. 01-21-0004-6369
                                                                            §
DAVISON DESIGN AND                                                          §
DEVELOPMENT, INC.                                                           §
Respondent                                                                  §


                                           CLAIMANT’S POST-HEARING BRIEF


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   Claimant, Mario Scorza, (hereafter “Scorza”) contracted with Davison Development and
Design, Inc. (hereafter “Davison”) for services related to invention development, wherein several
sequential agreements were entered into as to facilitate Claimant’s introduction into the weight
scale market between January 2017 and December 2020. Parties held an Arbitration Hearing on
the Merits in January and February of 2023 and submit this post-hearing brief for consideration:

                                           I.     FACTS

   At the conclusion of three (3) days of evidentiary hearings spanning over several weeks,
including testimony from Mr. Scorza’s patent expert, damages expert, and himself, as well as
Davison’s representatives, Davison remains recalcitrant and refuses to admit that even one of its
willful, wonton, or negligent actions leads to even a modicum of liability producing not even an
ounce of obligation to Mr. Scorza. In fact, despite an onslaught of overwhelming evidence,
Davison is confident in its deftly “contracted for” impunity and bolsters itself through its
documents of adhesion, which Davison believes absolves it of all past indiscretions and future
transgressions. Simply, Davison has an unfounded belief that it can contract away from
absolutely every possibility wherein Davison is culpable or has any responsibility to its clients –
a departure from reality from which Davison has been handsomely rewarded. Yet, the evidence
provided, in addition to the documents Davison conveniently cannot provide, i.e., the
nondisclosure agreements, undeniably proves that Davison’s “products and services” are just
smoke and mirrors.

     Based on the factual evidence the following is clear:

   1. Davison authored, and irrefutably argues that its contracts that are iron clad and absolve
       Davison of all liabilities.
   2. Scorza entered into the following agreements:
           a. “Pre-Development       and        Representation   Agreement”    (“Pre-Development
               Agreement”) signed on or around January 12, 2017, for $795. Respondent


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           Hearing Exhibit (hereinafter “R”) 3; Claimant Hearing Exhibit (hereinafter “Cl.”)
           48.
       b. “New Product Sample Agreement” (“NPSA”) signed on or around March 29,
           2017, for $14,757. R. 7; Cl. 11.
       c. “Multi Company Campaign Agreement” (“MCC”) signed on or around December
           14, 2018, for $3,995. R. 16; Cl. 49.
       d. “Inventomercial Presentation Agreement” (“IPA”) signed on or around December
           19, 2018, for $1,495. R. 17; Cl. 44.
3. Davison had a contractual duty to Scorza to aid and instruct his inventive endeavors.
4. Davison emphasized the importance of obtaining patent rights by means of a provisional
   patent application in the Pre-Development Agreement and without a provisional patent
   application, Davison would not engage with potential target companies. R. 3.
5. Davison attempted to file the provisional applications twice, but failed to competently file
   Scorza’s Provisional Patent Applications as follows:
    a. First attempt was an application signed by Scorza on February 22, 2017, whereafter
        Scorza mailed an application to Davison for filing to the United States Patent and
        Trademark Office (“USPTO”); however, Davison failed to include the necessary
        parts as evidenced by the Office Action for Notice of Incomplete Provisional
        Application. Cl. 5 (First Provisional and Notice).
    b. Second attempt was an application signed by Scorza on February 5, 2018, whereafter
        Scorza mailed the application to Davison for filing to the USPTO; however, Davison
        failed to include proper payment amount as evidenced by the Office Action for
        Notice to File Missing Parts of Provisional Application, a difference of only Five
        Dollars ($5). Cl. 6 (Second Provisional and Notice).
    c. According to the USPTO Manual of Patent Examining Procedure (MPEP) § 601
        (a)(4), “[T]he filing date of an application shall be the date on which a specification,
        with or without claims, is received in the United States Patent and Trademark
        Office.” 35 U.S.C. 111 (b)). Here it is the case that Davison classifies and stores the
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        first attempt as “PATENT & FILING RECEIPT” and the second attempt as
        “CLIENT PATENT,” but no official filing receipt was ever issued by the USPTO
        and a filing date was never afforded or granted to Scorza. Cl. 43, p.
        Davison_000073.
6. Davison’s witness Frank Vescio (“Vescio”) testified that Davison undertook the duty to
   file all provisional patent applications by submitting the application to the USPTO, along
   with a check for the necessary filing fee, on behalf of its clients.
7. Scorza testifies that he submitted all requested paperwork and payments to Davison and
   was informed by Larry Rifkin (“Rifkin”) that his idea was a “Green Flag” and Mr. Rifkin
   commented that “there was nothing like it” and Scorza’s idea was “good to go” unlike
   lots of other ideas which are deemed “red flags,” meaning they do not go “very far.” Cl.
   30, p. Scorza_00061.
8. Through the testimony of patent expert Scott McBride (“Mr. McBride”), Mr. Scorza’s
   patent rights were irreparably lost due to Davison’s negligent mishandling of each patent
   filing and based on the actions of Davison, Davison was undoubtedly practicing patent
   law by mailing provisional patent applications to the USPTO with the filing fee; even if
   the application was incomplete, the actions by Davison to mail in the application
   constitutes practicing patent law. Furthermore, despite being given actual notice on
   multiple occasions by Scorza of the filing deficiencies, Davison failed to take any
   measures to correct the deficient and incomplete filings and protect Scorza’s patent
   rights. Cl. 5, 6 & 12; R. 23.
9. Davison further emphasized the importance of confidentiality in the Pre-Development
   Agreement and other subsequent agreements, in the sense that Scorza should not
   communicate with any other parties regarding his invention the “Trava-Weigh.” Cl. 45.
   Veciso Arb. Test., Feb. 1, 2023.
10. Davison held the exclusive right to communicate with target companies and divulged
   confidential invention information regarding the Trave-Weigh to multiple entities. Cl. 41,
   p. Davison_000042; R. 6; R. 23, p. Davison_000042.
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   11. Davison marked the product sample renderings with the language “Patent Pending,” with
       actual knowledge of its falsity. R. 8; Cl. 13.
   12. Davison is unable to proffer to Scorza a single Non-Disclosure Agreement (“NDA”)
       protecting the confidentiality of Scorza’s invention to even one company in which
       “Video Reality Product Presentations” (“VRPP”) were made and “Video Ideation
       Sketch” (“VIS”) sent to. See Cl. 41, Davison_000042 & Davison_000048 (companies
       VRPP was made to: Sonashi, Cuisinart, Globe Food Equipment Company, Sumdex,
       Exceptional Products, Inc., Riverstone Industries, HAD Trading Corp and Delsey
       Luggage, Inc; and companies VIS were sent to: Delsey Luggage, Inc., HDS Trading
       Corp., Riverstone Industries, Exceptional Products, Inc., and Sumdex). Davison attempts
       to deceive this Tribunal into believing that NDA’s were sent out to the above companies.
       It references unsigned form NDA agreements. Absolutely no signed NDA’s were ever
       offered into evidence, or even produced in response to Scorza’s discovery requests.
       They do not exist. Like the patent applications, NDA’s simply were not relevant to
       Davison’s way of making money.
   13. Through the testimony of patent expert Mr. McBride, Mr. Scorza’s patent rights were
       barred by both (1) public disclosure and (2) an offer to sell, under Section 2152 of the
       MPEP defining 35 USC Section 102 requirements. Further, under USPTO mandated
       guidelines, reduction to practice started the one-year clock for filing a patent application,
       and failure to observe this resulted in Scorza losing his patent rights.
   14. Through the testimony of damages expert, Dr. Kenneth Lehrer (“Dr. Lehrer”), the loss of
       the rights to the patent resulted in a loss of value to Mr. Scorza of about $3.45 million
       dollars over 10 years. In order to calculate the damages, Dr. Lehrer set the stage testifying
       that the best way to value a lost patent is through a model business enterprise producing
       and selling the invention. Cl. 38, p. 4, 8-10.
       It is clear from the factual evidence and testimony from Davison’s own representative,
Mr. Vescio that the negligence of Davison to observe its own self-directed and drafted clauses to
competently and correctly file Claimant’s Provisional Patent Application, on two (2) distinct
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occasions; to correct Davison’s negligent mishandling of patent filings; as well as disclosing
confidential invention information to multiple target companies are the direct and immediate
cause of Mario Scorza’s economic and irreparable injury.
       It is of upmost importance to make note that this is not the first time that Davison has
committed this conduct. In fact, this is an established pattern, a well-oiled machine, a scam, that
Davison has been maliciously practicing since 1989 and were prosecuted for by the Federal
Trade Commission (“FTC”) in Western District of Pennsylvania under “Project Mousetrap.” The
Judge issued a $26 million dollar judgment against Davison along with a finding of fact and
conclusions. See Cl 17. Vescio during his testimony wholeheartedly denies all findings of fact
and conclusions of law – stating that the Judge was “dead wrong” – and that none of the
following actions, during his twenty plus years, carried out by Davison are true:
    1. Reasonably Good Chance of Financial Gain - Based on the overall, common sense, net
        impression on a reasonable consumer, Davison falsely represent, both directly and by
        implication, that consumers who buy their services stand a reasonably good chance of
        realizing financial gain by: (a) representing that they are selective as to whom they offer
        services based on the quality, value, and/or originality of a consumer's idea; (b)
        representing that they have a genuine stake in the consumer’s invention through
        royalties, when in fact, fees charged, and not royalties collected, are the main source of
        defendants' income; and (c) misrepresenting their track record.
    2. Misrepresentation of Track Record - The overall, common sense, net impression on a
        reasonable consumer of Davison’s track record overstates the reasonable possibility of
        financial gain.
    3. Many Products are Profitable - Regardless of how Davison inflates its track record, there
        is no reasonable implication from Davison’s overall marketing and sales materials that
        "many" consumers have made a profit as a result of using their services.
    4. Profitability of Certain Products - While it is true that defendants never use the term
        “profitable” in reference to these particular products, based on the overall, common


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   sense, net impression, a reasonable consumer would equate such specific statements of
   successful sales and marketing with profit.
5. Special Access to Corporations - Based on the overall, common sense, net impression on
   a reasonable consumer Davison falsely represent that they have a vast network of
   corporations with whom they have ongoing, special relationships, and with whom they
   regularly negotiate successful licensing agreements. Pre-Complaint, Davison told
   consumers explicitly that they worked directly with manufacturers, had close personal
   contacts, and cut through the "red tape" and the "old boys' network" to obtain licenses
   for their clients. Although this may be technically true of a handful of smaller
   companies, Davison implied that they had such relationships with hundreds of large,
   nationally known companies, which they did not.
6. Close Working Relationship - Through the corporate montage, Davison implies
   relationships with companies that have not even registered with Davison as being
   willing to accept new product ideas from them.
7. Necessity of Services - Based on the overall, common sense, net impression on a
   reasonable consumer, Davison misrepresent that its invention marketing services are
   necessary for consumers to license their invention ideas to corporations. Davison
   explicitly states that its virtual reality/prototype product presentation portfolios will get
   the consumer's idea "taken seriously" and are a “necessity” when working with large
   corporations. Although a reasonable consumer expects a salesperson to portray his
   products in the best light possible and to try to convince the consumer that he is selling
   something that the consumer must have, Davison claims to have expertise and
   experience in licensing products to large corporations and uses this perceived position of
   superior knowledge over the consumer to convince the consumer that when a
   salesperson says that something is needed in order to proceed, it is.
8. Executive Summary - Based on the overall, common sense, net impression on a
   reasonable consumer Davison misrepresents that it prepares objective and expert
   analyses of the marketability of consumers’ invention ideas.
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       Undoubtedly, the FTC ruling has not enjoined Davison’s abhorrent activity but rather
instructed Davison to artfully choose and finesse its words, hone its skills and more closely
observe the demarcated path defined by the FTC to adhere to the strict letter of the FTC ruling,
while entirely eviscerating the FTC’s intent. Davison, along with the hefty fine of $26 million,
was required to provide an Affirmative Disclosure Statement in a clear and conspicuous manner,
but this statement does not evade the fact that Davison continues to play on the fine line drawn
by the FTC. Cl. 16; Cl. 17. To date, Davison continues to create a situation of peril where
Davison ultimately ends up bamboozling customers for money.
       On the other hand, Dr. Lehrer provides an analysis of what Mr. Scorza’s money would
have gotten him if Davison adhered to its contracts, duty of care, filed the patent applications
competently, instead of deceiving Mr. Scorza.
     1. Dr. Lehrer refers to the enterprise model also as “The Theory of the Firm.” Cl. 38, p. 8-
         10. “The value of the firm is the present value of the firm’s expected future net cash
         flows,” and there is no need to account for inflation, because the present value analysis
         was not discounted. Id., p. 9. Dr. Lehrer Arb. Test., Jan. 19, 2023.
     2. Dr. Lehrer unveiled that the personal scales market is a growing market in the United
         States and is currently valued at $670 million per year. Typical conservative market
         captures for new products in the consumer goods market would run in the 0.08% to
         0.12% of the market. A price per unit in the $20-25 range would be appropriate for the
         new product, based on similar competitive products. Dr. Lehrer Arb. Test., Jan. 19,
         2023.
     3. Twenty-five years ago, the most appropriate business enterprise model for a patent or
         invention would be a firm that sold the product in a retail brick and mortar
         establishments. However, due to the internet retail revolution, the most typical business
         enterprise model today for a consumer good is to produce the good in China or a
         similar low-cost location and to sell them through an online retail platform, such as
         Amazon. Dr. Lehrer Arb. Test., Jan. 19, 2023.


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4. Dr. Lehrer testified a future or hypothetical business is valued by means of a sensitivity
   analysis, also known as a Monte Carlo analysis - a sensitivity analysis based on a
   variation of a set of scenarios or the process of varying model input parameters over a
   reasonable range (range of uncertainty in values of the model’s parameters) and
   observing the relative change in the model’s response. Dr. Lehrer further testified that
   this method is often used for merger or acquisition fairness opinions when target
   companies feature a new product. It is also used and found reliable in SEC filings,
   particularly those featuring forward looking statements; and Dr. Lehrer testified that he
   has previously performed Monte Carlo analyses that have been in used in merger and
   acquisition fairness opinions and SEC filings.
5. Dr. Lehrer consulted with Amazon Co. and a customs broker and import-export
   attorney to appropriately model costs and expenses for his business enterprise model.
   He accounted for: cost of goods sold, manufacturing fees, an Amazon 10 year Retailer
   Plan; Amazon’s commission per unit sold; container costs for import; harbor
   maintenance fees; tariffs; warehouse transport costs; Customs goods examination costs,
   customs brokerage fees; yearly import bond; demurrage; inspection fees; insurance; and
   miscellaneous costs. Applying these expenses, Dr. Lehrer found the cost of goods sold
   in the 15% range, and the costs and expenses in the 30-33% of revenues, resulting in
   profits in the 47-50% of revenue range. Dr. Lehrer Arb. Test., Jan. 19, 2023.
6. Dr. Lehrer’s testimony proposed market capture numbers leads to a patent valuation of
   around $3.45 million dollars over 10 years based on an average of the provided
   scenarios:
   a. A low range capture of 0.08% of the $670 million per year market would lead to
       revenues of $536,000/year or around $2.5 million of lost profits in 10 years.
   b. A mid-range capture of 0.10% of the $670 million per year market would lead to
       revenues of $670,000/year or around $3.7 million of lost profits in 10 years.
   c. A high-range capture of 0.12% of the $670 million per year market would lead to
       revenues of $840,000/year or around $4.1 million of lost profits in 10 years.
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                               II.    CONTRACTUAL DUTY
       Under Pennsylvania law, a party to a contract has two duties: (1) a contractual duty and
(2) a legal duty to act without negligence toward both the other party to the contract and third
parties. Weiser v. Bethlehem Steel Corp., 508 A.2d 1241, 1245 (Pa. Super. 1986).
       First and foremost, in the Pre-Development Agreement, Davison established its own
contractual obligation to file a Provisional Patent Application on behalf of Mr. Scorza. (Cl. 48,
Davison_000332). Having taken this obligation upon itself, Davison has the additional
responsibility to competently observe and accomplish the dictates of the “essential terms”, in
essence to conform to meet that duty, by substantially performing the agreed-upon task. This
substantial performance is defined where: [I]n Pennsylvania, the equitable doctrine of substantial
performance protects "those who have faithfully and honestly endeavored to perform their
contracts in all material and substantial particulars, so that their right to compensation may not be
forfeited by reason of mere technical, inadvertent, or unimportant omissions or defects." Mort
Co. v. Paul, 76 A.2d 445, 447 (Pa. Super. Ct. 1950). Here, it is undoubtedly the case that no
filing was ever granted, no rights were preserved, and no rights are retrievable, thus Mr. Scorza
is forever damaged.
       According to Davison’s NPSA, Davison was contractually obligated to provide, both, a
final product (with packaging) and to accept “all reasonable requests” which “are consistent with
the goal of solving the problem in a simple and cost-effective manner.” Cl. 22, SCORZA0002-
0004. Neither was accomplished. Mr. Scorza, was never provided with any sort of product
sample. Mr. Scorza only received computerized renderings, contrary to Davison’s contractual
obligation to develop and provide a physical product sample. Scorza Arb. Test., Feb. 18, 2023.
   Further, and most telling, Davison failed to produce even an iota of assistance, even after
multiple documented implorations and pleas, to attempt any remediation of Mr. Scorza’s
increasingly dire position. Cl. 12; R. 23. Davison’s breach of its contracts, combined with a
failure to remedy, has undoubtedly caused direct harm to Mr. Scorza, including, but is not
limited to, the complete annihilation of any possibility Mr. Scorza had of receiving patent rights
due to Davison’s deficient patent applications and wonton disregard for Mr. Scorzas perilous

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position. Davison’s inability to achieve the most rudimentary status of “Patent Pending” on
either of Mr. Scorza’s Provisional Patent Applications, as detailed in our Patent Expert Report, is
just two examples of Respondent’s ineptitude and callous disregard reflected in Davison’s
numerous exponentially consequential contractual breaches. Cl. 5 & 6.
                              III.    DUTY OF CARE IN TORT
        The primary element in a negligence cause of action is that the defendant owes a duty of
care to the plaintiff. See Bilt-Rite Contractors, Inc. v. The Architectural Studio, 866 A.2d 270,
280 (2005). The concept of duty in a tort setting can be intertwined with contractual notions of
privity, as is the case here, where the task is to determine whether the relationship between the
parties gives rise to a duty. Id. at 281.
        The Supreme Court of Pennsylvania has held that the “determination of whether a duty
exists in a particular case involves the weighing of several discrete factors which include: (1) the
relationship between the parties; (2) the social utility of the actor’s conduct; (3) the nature of the
risk imposed and foreseeability of the harm incurred; (4) the consequences of imposing a duty
upon the actor; and (5) the overall public interest in the proposed solution.” Althaus ex rel.
Althaus v. Cohen, 756 A.2d 1166, 1169 (2000). This traditional approach to duty in tort can be
used to show that Davison owed a duty to Mr. Scorza, which Davison subsequently breached,
and failed to cure, despite Mr. Scorza’s pleas for remediation and therefore caused immense
damage over the course of several years – damage which continues to be wrought to this day.
        First, as previously stated, Scorza contracted with Davison for services related to
invention development, wherein several sequential agreements were entered into as to facilitate
Mr. Scorza’s introduction into the weight scale market between January 2017 and December
2020. These agreements and correlated communications that were based on Davison’s
negligently misleading and mischaracterized assertions unbeknownst to Mr. Scorza, clearly
indicate a relationship existed between the two parties. Further, Mr. Scorza invested in and relied
upon Davison’s intentional misrepresentations of material facts germane to the parties’
relationship, resulting in damages.


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       Second, on the question of the social utility of the conduct at issue, obviously patent
research and development services play an important role in promoting the progress of science
and useful arts, by securing for limited times to authors and inventors the exclusive right to their
respective writings and discoveries. U.S. Const. art. I, § 8, cl. 8. Purposively, this is the only use
of the word “right” used by our Founding Fathers throughout the U.S. Constitution wherein the
importance of such a right form the undergirding of our country’s entire basis. But, by the same
token, given the important reliance placed upon such services, there is no reason to exempt such
parties who take on a positive, contractual duty upon themselves to attempt to practice law and
engage in successful patent filing services, successfully or otherwise, from the tort consequences
of a negligent failure to perform those services in a competent fashion.
       Third, Davison was aware that it put Mr. Scorza at risk of potential harm. Davison
repeatedly informed Mr. Scorza of the importance of obtaining such patent rights and the need to
keep his invention confidential. Cl. 45; Cl. 41, p. Davison_000042; R. 6; R. 23, p.
Davison_000042. The risk to Mr. Scorza’s patent rights was known to Davison and the loss and
consequences of that loss were entirely foreseeable by Davison, where Davison was the
harbinger of the ill and the custodian of Mr. Scorza’s jeopardy. As evidenced by every argument
and direct testimony made in these proceedings, Mr. Scorza earnestly believed that Davison was
acting as a fiduciary who was going to aid him in achieving his longtime hopes and dreams. But
unfortunately, Mr. Scorza was sorely mistaken because Davison led Mr. Scorza to believe it was
acting in his interest, instead of advancing Mr. Scorza’s objective of taking his invention to
market.
       Fourth, the consequence of imposing such a duty upon Davison to file a U.S. Provisional
Patent Application competently and successfully is neither unreasonable nor unduly burdensome
where Davison itself contractually adopted not only the duty to file the application but undertook
the corresponding obligation to accomplish that duty proficiently and correctly. While Davison
could have just as easily placed the onus to file upon Mr. Scorza across its plethora of
agreements’ many sections of consents, mutual understandings and commitments, it did not. The
present action seeks to merely hold Davison to its own self-imposed duty.
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       Finally, finding that an affirmative duty undoubtedly exists, and Davison is in breach
thereof, serves the overall public interest by discouraging negligence among operators in the
“invention help” space. Generally, by directly focusing on the actions of Davison and Davison’s
malfeasance, specifically, while not requiring any more of them than what was contractual
bargained for or that which is required of the reasonable concern faced with foreseeability of
harm in a tort paradigm applicable to all. Moreover, the unfair harm of taking one’s hard-earned
dollars, over twenty thousand of Mr. Scorza’s dollars, with no results and no intention of ever
satisfying Davison’s contractual obligations screams that a solution be implemented to protect
the overall public interest to ensure that society is not being robbed of their hard earnings or
ingenuity.
       The Supreme Court of Pennsylvania has observed that “[i]n scenarios involving an
actor’s affirmative conduct, he is generally ‘under a duty to others to exercise the care of a
reasonable man to protect them against an unreasonable risk of harm to them arising out of the
act.” Seebold v. Prison Health Services, Inc., 57 A.3d 1232, 1246 (2012) (quoting Section 302
cmt. A of the Restatement (Second) of Torts). The Court explained that “[t]his duty appropriately
undergirds the vast expanse of tort claims in which a defendant’s affirmative, risk-causing
conduct is in issue.” Id. Generally, there is no duty to protect or rescue someone who is at risk on
account of circumstances the defendant had no role in creating. However, when Davison’s
affirmative conduct of entering into a contract to file a provisional patent application and taking
the action to mail said application to the USPTO it created the risk of financial and property loss
for Mr. Scorza, a duty to protect and rescue was created. Dittman v. UPMC, 196 A.3d 1036,
1046 (2018) (holding that UPMC owed Employees a duty to exercise reasonable care to protect
them against an unreasonable risk of harm arising out of an act UMPC required as a condition of
employment). Here it is the case that Davison enriched themselves by exciting Mr. Scorza’s
hopes and dreams with false and inducing words. Further, Davison was derelict in its duty to Mr.
Scorza, mishandling documents of great legal consequence and importance to Mr. Scorza which
placed Mr. Scorza in a legal jeopardy affecting his patent rights completely and indefinitely and
subsequently failed to rescue Mr. Scorza from the peril that Davison created (with actual notice
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thereof). Ultimately, Davison induced Mr. Scorza to spend thousands of dollars out of the funds
intended to be invested in his grandson’s education and to sustain the life of his medically
disabled daughter, leaving Mr. Scorza in a worse shape and condition. Scorza Arb. Test., Feb.
18, 2023.
       Having established the primary element of a negligence claim, that Davison owed Scorza
a duty, it can now be established that Davison breached its duty to correctly file a provisional
patent by failing to include the most basic product description with its first provisional patent
filing, and then failing to write a mere five dollar check to the USPTO to ensure acceptance of
the second provisional patent filed on Mr. Scorza’s behalf. But for Davison’s incomplete
provisional patent filings and its failure to remedy any errors therein, Mr. Scorza would have
been able to obtain a provisional patent on his invention and subsequent USPTO bestowed patent
rights, per Scott McBride. Cl. 5 & 6.
       Davison also breached its duty to keep Mr. Scorza’s information confidential by
disclosing details of Mr. Scorza’s invention to third parties under the guise that the invention was
“patent pending”. R. 8; Cl. 13. But for Davison’s disclosure of Mr. Scorza’s information to third
parties, Mr. Scorza’s information would have remained confidential and would have remained in
patentable condition. Cl. 41, Davison_000042 & Davison_000048.
Mr. Scorza’s damages resulting from Davison’s complete disregard for Mr. Scorza’s most basic
requirements of confidentiality, inquiries and pleas for assistance, which Davison chose to ignore
while continuing to entice and cajole Mr. Scorza for his continued financial input, include a
complete squandering of Mr. Scorza’s ideas, as evidenced by the testimony of Scott McBride.
The years and days and hours that Mr. Scorza spent developing his idea was all for naught, as
Davison’s failure to observe contractual duties has murdered Scorza’s ability to ever regain those
patent rights or earn $3.4 million over a 10-year period, as Dr. Lehrer testified to. Lehrer Arb.
Test., Feb. 19, 2023. Davison has so carelessly and brazenly allowed Scorza’s intellectual
property rights, as well as his dreams, to inexplicably and inexcusably die, all in the name of
greed and profit.


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                               IV.    CAUSES OF ACTION
               A. Breach of Contract

       Breach of Contract is established when there is: (1) the existence of a contract, including
its essential terms; (2) a breach of the contract; and, (3) resultant damages. Meyer, Darragh,
Buckler, Bebenek & Eck, P.L.L.C. v. L. Firm of Malone Middleman, P.C., 635 Pa. 427, 445, 137
A.3d 1247, 1258 (2016). Davison failed in its duty to uphold key sections of contracts drafted by
Davison and entered into between Davison and Mr. Scorza.

       Davison created its own contractual obligations to Mr. Scorza in the Pre-Development
Agreement, as well as in the NPSA. (Cl. 48, Cl. 22). Davison’s contractual obligation to file a
Provisional Patent Application on behalf of Mr. Scorza was breached when it failed to use any
due care to competently and correctly file Scorza’s provisional patent on two separate occasions.
Cl. 5 & 6. Likewise, Davison’s contractual obligation to provide a physical prototype of Mr.
Scorza’s invention, along with packaging, was breached when Davison failed to deliver on its
promises – which were essential terms of the NPSA. R. 7. After pocketing Mr. Scorza’s money,
Davison could not successfully file a provisional patent and only provided Scorza with a mere
computerized rendering of the Trava-Weigh. Cl. 13. The breached promises are essential terms
of each respective contract, the breach thereof resulting in irreparable damage to Mr. Scorza’s
intellectual property rights. McBride Arb. Test., Feb. 18, 2023.
               B. Common Law Fraud

       Common Law Fraud requires (1) a misrepresentation; (2) a fraudulent utterance of it; (3)
the maker’s intent that the recipient be induced thereby to act; (4) the recipient’s justifiable
reliance on the misrepresentation; and (5) damage to the recipient proximately caused. Lokay v.
Lehigh Valley Co-op. Farmers, Inc., 342 Pa.Super. 89, 96, 492 A.2d 405, 408 (1985).
   Davison made material and false representations to Mr. Scorza that Davison could and would
assist Mr. Scorza with the entire process of developing and finalizing Scorza’s unique invention
for commercialization, and that Davison had the requisite training, knowledge, and acumen to do
so. For example, Davison represented it would file the patent application with the fee, but could

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not even observe its own deficiency in filing the first application, or observe its promise to
simply pay the micro entity filing fee to the USPTO for Scorza’s second provisional patent
filing. R. 7; Cl. 48, Davison_000332; Cl. 6. Davison made fraudulent misrepresentations with
actual knowledge of these misrepresentations with the intent of inducing Mr. Scorza to pay
Davison over several years. Relying on Davison’s false promises to help develop and sell Mr.
Scorza’s idea, Mr. Scorza made numerous payments that ultimately were systematically
collected solely for the gain of Davison and for very little to no benefit to Mr. Scorza. Davison
acted on the lucrative incentive to misinform Mr. Scorza, consciously engaging in profitable
nonaction, benefiting directly from purposefully ignoring Mr. Scorza, knowing that Mr. Scorza
would rely upon these actions (and nonactions) which Mr. Scorza did trust - to his detriment.
Resulting in Mr. Scorza losing his patent rights and profits from the sale of the Trava-Weigh.
McBride Arb. Test., Feb. 18, 2023; Lehrer Arb. Test., Feb. 19, 2023.
         Disturbingly, Scorza is not the only, or the first, victim of Davison’s schemes. In 2006
the FTC, in conjunction with the Pennsylvania Attorney General’s Office under the FTC’s
Telemarketing Sales Rule, obtained a ruling ordering Davison to pay $26 million dollars for
exploiting inventors hoping to “build a better mousetrap” or in other words, improving the world
with new technology. Cl. 20. However, these punitive measures were not enough to deter
Davison from undertaking more and more predatory contractual relationships with hopeful
inventors and dreamers by honing its deceitful practices. Unfortunately, these dreamers who are
induced by Davison end up with ideas, which were once potentially profitable, now bereft of any
worth.
                C. Fraud By Concealment and Non-Disclosure/Omission

         Under Pennsylvania law, a plaintiff may assert a fraudulent concealment claim when the
defendant concealed or intentionally prevented the plaintiff from discovering material
information. LEM 2Q, LLC v. Guar. Nat. Title Co., 144 A.3d 174, 181 n. 10 (Pa. Super. 2016);
Woodward v. Dietrich¸ 548 A.2d at 311-16.




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   Davison, upon discovery of its deficit provisional patent filings, failed to disclose any
information to Mr. Scorza. When Scorza reached out to Davison with questions regarding
notices from the USPTO detailing the deficit patent filings, Davison intentionally avoided
acknowledging Scorza’s questions and instead pitched new contractual agreements to further
ensnare Mr. Scorza in its money grabs. Cl. 5, 6, and & 12; R. 23; Scorz Arb. Test., Feb. 18,
2023. Mr. Scorza was therefore deprived of facts – or otherwise fed intentionally vague,
obfuscated, and vainglorious information – which would have been required to make an
informed decision. Davison, in willfully defrauding Scorza, did not qualify any of its incomplete
representations, did not observe the contractual duty owed to Mr. Scorza, and failed to disclose
facts basic to its transactions on at least four occasions—January 12, 2017, March 29, 2017,
December 14, 2018, and December 19, 2018. Cl. 3, 7, 16, and 17.
               D. Negligent Misrepresentation

       Under Pennsylvania law, a claim of negligent misrepresentation requires proof of the
following elements: (1) a misrepresentation of a material fact; (2) made under circumstances in
which the misrepresenter ought to have known its falsity; (3) with an intent to induce another to
act on it; (4) which results in injury to a party acting in justifiable reliance on the
misrepresentation. Bortz v. Noon, 729 A.2d 555, 561 (Pa. 1999).
       Davison negligently misrepresented that it would file a provisional patent application on
Mr. Scorza’s behalf. See Cl. 48, Davison_000332). This misrepresentation was material to the
transaction at hand because Davison required a provisional application to be filed prior to
communication with potential companies for licensing purposes. Id. This misrepresentation was
made falsely with recklessness as to its truth because Davison knew of the importance of having
a patent application on file with the USPTO, as evidenced by the requirement to obtain one prior
to moving forward with its services. Davison had the requisite intent to mislead Scorza into
relying on the misrepresentation because it required Scorza to adhere to this provision, otherwise
Davison would not proceed. Scorza justifiably relied on Davison’s misrepresentation, as
evidenced by Mr. Scorza’s adherence to the agreements through payments, because he wanted


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his idea to succeed. Scorza was injured by this misrepresentation through the irreparable loss of
his intellectual property rights.
         Davison made further negligent misrepresentations that it would keep Mr. Scorza’s
information confidential. This misrepresentation was material to the transaction at hand because
Scorza’s information was disclosed to another party, which completely invalidated Scorza’s
patent rights. Davison had assured Scorza that his information would be confidential, proving
that the misrepresentation was made with knowledge of recklessness as to its truth and with the
intent to mislead Scorza into relying on it because otherwise Scorza would not have contracted
with Davison. Mr. Scorza justifiably relied on the misrepresentation because he entered into the
relationship with Davison on the belief that Davison would confidentially maintain his invention
rights and keep them from entering the public domain. Once again, Scorza was injured by this
misrepresentation through the irreparable loss of his intellectual property rights.
                E. Fraud in the Inducement

         Under Pennsylvania law, plaintiffs are required to prove the following elements in a
claim for fraud in the inducement: (1) a representation; (2) material to the transaction at hand; (3)
made falsely with knowledge of its falsity or recklessness as to its truth; (4) with intent of
misleading another into relying on it; (5) justifiable reliance on the misrepresentation; and (6)
resulting injury. Broederdorf v. Bachelor, 129 F.Supp.3d 182, 198 (E.D. Pa. 2015). Successfully
pled, such contracts are voidable. Giannone v. Ayne Institute, 290 F.Supp.2d 553, 564 (E.D. Pa.
2003).
         In terms of the material misrepresentations contained in the facts above, Davison did
present material misrepresentations as to: (1) the quality of Davison’s services, (2) Davison’s
licensing acumen, (3) Davison’s understanding of Patents, (4) Davison’s ability to competently
and successfully file a US Provisional Patent Application, twice, (5) Davison’s inability to
discern the proper use of “Patent Pending”, (6) Davison’s understanding of confidentiality, (7)
Davison’s ability to hold confidential information confidential, (8) Davison’s ability to procure
and evidence a Non-Disclosure Agreement, (9) Davison’s selectivity as to whom it offers


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services, (10) Davison’s genuine stake in the outcome of the invention and that royalties are a
source of income, (11) Davison’s fees being 99.999% tied to fees charged and not royalties, (12)
Davison’s track record, (13) Davison’s success rate, (14) Davison-assisted products are many,
(15) Davison-assisted products are profitable, (16) Davison has special company access, (17)
Davison’s ability to cut through “the red tape” and the “old boys’ network, (18) Davison’s “close
working relationship” with companies, (19) the Executive Summary offering objectivity and
“expert analysis” of the marketability of a product, (20) Davison not commenting on the
potential success of a product through “red flag” and “green flag” language, and, most
appropriate, (21) the necessity of Davison’s services - all made falsely with actual knowledge of
its falsity or recklessness as to its truth that intended to mislead Mr. Scorza, who justifiably relied
upon such misrepresentations to his great disadvantage and irreparable harm, a loss of his patent
rights and proposed market capture of around $3.45 million dollars over 10 years.
                 F. Common Law Negligence

          The elements of a cause of action in negligence are as follows: (1) a duty recognized by
law, requiring the actor to conform to a certain standard with respect to the injured party; (2) a
failure of the actor to conform to that standard; (3) a causal connection between the conduct and
the resulting injury; and (4) actual loss or damage to the interests of another. Felli v. Com., Dep't
of Transp., 666 A.2d 775, 777 (Pa. Commw. Ct. 1995).
          Davison owed Scorza a duty to correctly file a provisional patent and keep Mr. Scorza’s
information confidential. These duties were breached when Davison failed to properly file
provisional patent application on behalf of Mr. Scorza on two occasions and disclosed Scorza’s
confidential information to third parties during the VRPPs and VISs. See Cl. 41,
Davison_000042 & Davison_000048. But for Davison’s breach, Mr. Scorza would have been
able to obtain an allowed U.S. patent and his information would have remained confidential until
this point. Mr. Scorza’s damages resulting from Davison’s breach include a complete
squandering of Mr. Scorza’s ideas, as evidenced by the testimony of Mr. McBride and Dr.
Lehrer.


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                             V.    PENNSYLVANIA UTPACPL
        The legislative intent in enacting the Pennsylvania Unfair Trade Practices & Consumer
Protection Law (“UTPCPL”) was to enhance the protection of the public from unfair or
deceptive business practices. Gabriel v. O’Hara, 368 Pa.Super. 383, 388 & n.6, 534 A.2d 488,
491 & n.6 (1987). The principle enhancements of pre-existing common law protections included
the codification of a list of practices designated as “unfair or deceptive” and therefore “unlawful”
(73 Pa .Stat. §§ 201–2, 201–3), authorization of the Pennsylvania Attorney General to take
several specific types of action to protect the citizenry from such practices (73 Pa. Stat. §§ 201–
3.1 to 201–9.1), and authorizing a private cause of action by private parties for treble damages in
certain circumstances (73 Pa. Stat. § 201–9.2).        The central underlying intent was fraud
prevention, and the act must be construed liberally to effectuate that remedial intent. See
Commonwealth v. Monumental Properties, 459 Pa. 450, 329 A.2d 812, 815–17 (1974); Valley
Forge Towers S. Condo. v. Ron-Ike Foam Insulators, Inc., 393 Pa.Super. 339, 346, 574 A.2d
641, 644 (1990); Gabriel v. O’Hara, 534 A.2d at 491; Culbreth v. Lawrence Miller, Inc., 328
Pa.Super. 374, 477 A.2d 491 (1984).
               A. Applicability

       The UTPCPL states that:

       Any person who purchases or leases goods or services primarily for personal,
       family or household purposes and thereby suffers any ascertainable loss of
       money or property, real or person, as a result of the use or employment by any
       person of a method, act or practice declared unlawful by section 3 of this act…

has standing to sue under the Act. 73 Pa. Stat. § 201-9.2(a) (emphasis added). The list of
applicable purposes is a disjunctive one (“personal, family or household purposes”), indicating
that the statute applies to all personal purchases, all family purchases, and all household
purchases. Even a residential condominium association has been held to be a “person” under the
statute, as it represents the individual owners. Valley Forge Towers, 393 Pa.Super. 339, 347-48,
574 A.2d 641, 645. For determination of “household purpose” applicability of the statute, the
purpose of the purchase is the correct direction of analysis. In that case, if the “sole motivation”


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of the purchase is non-household, the purchase is non-household in nature. Waldo v. N. Am. Van
Lines, Inc., 669 F.Supp. 722, 726 (W.D. Pa. 1987).
       All four contracts were entered into by Mario Scorza, individually. See R.3, 7, 16, & 17.
None of the contracts were entered into by an entity, or even by Mario Scorza on behalf of, or for
the benefit of, an entity. That the “services” were provided for Mario Scorza individually is
simply not even in factual dispute. Furthermore, the applicant on both patent applications was
Mario Scorza individually, not an entity. Cl. 5 & 6. The services were obtained for an
individual, Mario Scorza, who individually contracted with Davison.
       Davison has argued that its contract states that the services are not for personal use, and
that boilerplate recitation in a consumer contract of adhesion insulates them for any liability
under the UTPCPL. This is unsurprising, as it is essentially Davison’s repeat argument, that its
contracts protect them from all liability, no matter what they have done wrong. However, it is
contrary to fact and unenforceable, as discussed in section VI, infra.
               B. Violations

The statute presents a list prohibited conduct:

       “Unfair methods of competition” and “unfair or deceptive acts or practices” mean
       any one or more of the following:..

       (v) Representing that goods or services have sponsorship, approval,
       characteristics, ingredients, uses, benefits or quantities that they do not have or
       that a person has a sponsorship, approval, status, affiliation or connection that he
       does not have;…

       (vii) Representing that goods or services are of a particular standard, quality or
       grade, or that goods are of a particular style or model, if they are of another;…

       (xiv) Failing to comply with the terms of any written guarantee or warranty given
       to the buyer at, prior to or after a contract for the purchase of goods or services is
       made;…

       (xxi) Engaging in any other fraudulent or deceptive conduct which creates a
       likelihood of confusion or of misunderstanding.

73 Pa. Stat. § 201-2(4)(emphasis on the catchall clause of the statute).


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          The various misrepresentations that were routinely made by Davison were discussed at
length in the FTC ruling. Cl. 18. Scorza confirmed that many of the same misrepresentations
were made to him as well, albeit in slightly altered terms. Scorza Testimony, Jan. 18, 2023.
          However, Davison made several contractual misrepresentations and omissions that were
ultimately fatal to Scorza’s patent rights and account for the overwhelming majority of his
damages: 1) it represented that it would “mail the [patent] application to the USPTO along with
the micro entity filing fee, which is currently $65.00” Cl. 48, para. 6; 2) it failed to notify him
that both his patent applications were in mortal danger, due it its own mistakes and malfeasance;
3) it represented that it would keep Scorza’s valuable invention confidential, when it was
actually sending out his invention details without signed non-disclosure agreements, resulting in
the loss of all of his patent rights. These misrepresentations and complete malfeasance doomed
Scorza’s patent.
                 C. Strict Liability

          Violations of the UTPCPL do not require intent to deceive, or even negligence, for
liability to attach. As the Pennsylvania Supreme Court has made abundantly clear, the UTPCPL
is a strict liability statute.
          “A plain language analysis of the relevant statutory provision leads inexorably to
          the conclusion that deceptive conduct under the CPL [UTPCPL] is not dependent
          in any respect upon proof of the actor’s state of mind. The Superior Court’s
          holding is consistent not only with the plain language of the CPL [UTPCPL], but
          also with our precedent holding that the CPL [UTPCPL] is a remedial statute that
          should be construed broadly in order to comport with the legislative will to
          eradicate unscrupulous business practices.”

Gregg v. Ameriprise Finan., Inc., 245 A.3d 637, 641, 2021 WL 607486 (Pa. Feb. 17, 2021),
citing Commonwealth by Creamer v. Monumental Props., Inc., 459 Pa. 450, 329 A.2d 812, 817
(1974).
          The Pennsylvania Supreme Court held:

          “[A]ny deceptive conduct, “which creates a likelihood of confusion or of
          misunderstanding,” is actionable under 73 P.S. § 201-2(4)(xxi), whether
          committed intentionally (as in a fraudulent misrepresentation), carelessly (as in a
          negligent misrepresentation), or with the utmost care (as in strict liability).

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       Whether a vendor's “conduct has the tendency or capacity to deceive ... is a lesser,
       more relaxed standard than that for fraud or negligent misrepresentation.” TAP,
       36 A.3d at 1253. The only thing more relaxed than negligence––regarding a
       consumer's burden of proof––is strict liability.”

       Gregg, 195 A.3d at 939 [the Superior Court opinion].

       “Like other strict liability offenses, liability for deceptive conduct under the CPL
       cannot be excused if consumers rely upon that conduct to their financial
       detriment. Representations made in the consumer context are within the exclusive
       control of the vendor:

       [A commercial transaction] occurs in a designed setting entirely of the vendor's
       own creation via preplanned marketing schemes. Thus, vendors place themselves,
       by choosing where, when, and how they enter the market, in a much stronger
       position to comply fully with the [CPL] before soliciting or interacting with
       consumers. Vendors not only elect whether to enter a market, but, because “the
       market” is a fictional place, they have full volitional control over their conduct
       when in it.

       The [CPL] is for consumer protection. It undoes the ills of sharp business dealings
       by vendors, who, as here, may be counseling consumers in very private, highly
       technical concerns. Like the Greggs, those consumers may be especially reliant
       upon a vendor's specialized skill, training, and experience in matters with which
       consumers have little or no expertise. Therefore, the legislature has placed the
       duty of [CPL] compliance squarely and solely on vendors; they are not to engage
       in deceitful conduct and have no legally cognizable excuse, if they do.”

       Id. at 939-40. It is the vendor—not the consumer—that is charged with
       complying with the CPL, as the vendor is in a better position to determine
       whether the representation might be deceptive. Strict liability for such violations
       is consistent with the legislative mandate to eradicate the use of unfair and
       deceptive conduct in consumer transactions. Monumental, at 815-16.

Gregg v. Ameriprise Finan., Inc., 245 A.3d 637, 650 (the Pa. Supreme Court Opinion), citing
Commonwealth v. TAP Pharm. Products, Inc., 36 A.3d 1197 (Pa. Cmwlth. 2011), rev'd on other
grounds, 626 Pa. 1, 94 A.3d 350 (2014); Gregg v. Ameriprise Finan., 195 A.3d 930, 936 (Pa.
Super. 2018)(the Superior Court Opinion); Commonwealth by Creamer v. Monumental Props.,
Inc., 459 Pa. 450, 329 A.2d 812, 817 (1974).
       Davison will argue that it intended to correctly file the patent application. It failed to file
the first application correctly, resulting is loss of original filing date. It fumbled the ball yet
another time by including the wrong fee (the fee had increased recently), and failing to ever send
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in the additional $5.00 that could have saved the application. Davison might argue that its state
of mind was merely negligent during this sorry comedy of errors. However, it does not matter.
Davison may have meant well, may have done it intentionally, or had no state of mind
whatsoever, because it was so painfully clueless.       However, it simply does not matter.
Davison is liable as a matter of law under the statute.
               D. Damages & Trebled Damages

       The UTPCPL permits plaintiffs to recover for “any ascertainable loss of money or
property, real or personal.” 73 Pa. Stat. § 201-9.2.
       The Court found, as a matter of statutory construction, that a trial court’s discretion to
award treble damages under the UTPCPL should not be closely constrained by the common law
requirements for punitive damages. Schwartz v. Rockey, 593 Pa. 536, 557, 932 A.2d 885, 898
(Pa 2007). A “consumer protection statute requiring awards of treble damages for violations is,
in effect, a hybrid, with both punitive and remedial aspects, and therefore,…” “common-law
requirements governing the award of punitive damages should not control.” Schwartz, 593 Pa. at
557, citing Marshall v. Miller, 302 N.C. 539, 276 S.E.2d 397, 402 (1981). The Pennsylvania
Supreme Court holds that treble damages in UTPCPL cases should be awarded more generously
than punitive damages. A trial court may consider intentional or reckless wrongful conduct for
which an award of treble damages would be remedial in nature when deciding whether to award
treble damages. Schwartz, 593 Pa. at 557. No finding of outrageous conduct is needed for an
award of trebled damages. Gadley v. Ellis, Civ. No. 3:13-17, 2016 WL 1090654, at *3, 2016
U.S. Dist. LEXIS 35252 (W.D. Pa. Mar. 18, 2016)(citing Schwartz v. Rockey, 932 A.2d at 898;
see also Lindsley v. Am. Honda Motor Co., Civ. No. 16-941, 2017 WL 2930962, at *9-10 (E.D.
Pa. Jul. 7, 2017)). Under the UTPCPL, rather than punitive damages, the trial court has purely
discretionary authority to award treble damages. Samuel-Bassett v. KIA Motors Am., Inc., 357
F.3d 392, 401 (3d Cir. 2004). Here, the Tribunal has full authority and discretion to award treble
damages to punish, as a matter of public policy, Davison’s intentional and reckless wrongful
conduct and is requested to do so.


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       Davison argues that Scorza’s claims are barred under the “gist of the action” doctrine,
that contractual duties cannot serve as the base for a tort claim, and that any tort claim is
subsumed within a breach of contract claim.         See Respondent Pre-Hearing Brief, p. 5-6.
However, the Pennsylvania Supreme Court held that the economic loss doctrine does not apply
to UTPCPL claims. Pennsylvania does not apply the economic loss doctrine where there is a
“‘statutory [as opposed to common law] basis to impose liability for economic losses.”
Excavation Techs., Inc. v. Columbia Gas Co. of Pa., 604 Pa. 50, 985 A.2d 840, 842-43 (2009);
see also Earl v. NVR, Inc., 990 F.3d 310, 313 (3rd Cir. 2021); Knight v. Springfield Hyundai, 81
A.3d 940, 952 (Pa. Super. Ct. 2013). “The UTPCPL does just that. It permits plaintiffs to
recover for ‘any ascertainable loss of money or property, real or personal.’ 73 Pa. Cons. Stat. §
201-9.2 (emphasis added).” Earl, 990 F.3d at 313 (citations and emphasis in original). The
damages for Scorza’s loss of all his patent rights are fully recoverable under the UTPCPL.
                VI.     CONTRACTUAL DISCLAIMERS OF LIABILITY
       Davison attempts to rely upon a boiler plate contractual provision to escape all potential
liability whatsoever. Davison argues that the clause in question is a “limitation of damages”
clause, citing no authority and making no legal arguments. However, clauses that purport to
contractually limit damages are exculpatory clauses by definition. The legal test applies to any
“exculpatory language.” Tayar v. Camelback Ski Corp., Inc., 616 Pa. 385, 47 A.3d 1190, 1196
(2012); Topp Copy Products, Inc. v. Singletary, 533 Pa. 468, 471, 626 A.2d 98, 99 (Pa. 1993).
The clause simply states that “In no event will Davison be liable to Client for any consequential,
exemplary, incidental or punitive damages, including lost opportunities or lost profits.” The
clause purports to exculpate Davison for any consequential or incidental damages, including lost
profits. It also purports to exculpate against exemplary and punitive damages.
       This begs the question, what other damages would there be flowing out of a contract of
this nature? The breach of a contract to develop an invention would only involve consequential
or incidental damages, and possibly lost profits. There are no other kinds of damages, other than
those which have been purportedly disclaimed. The clause is clearly an exculpatory clause and
is disfavored at law.

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               “Those clauses are disfavored and must meet certain conditions to be
       enforceable. First, the clause must not contravene public policy. Second, the
       contract must relate solely to the private affairs of the contracting parties and not
       include a matter of public interest. Third, each party must be a free bargaining
       agent. In addition, an exculpatory or indemnity clause will still not be enforced
       unless it is clear that the beneficiary of the clause is being relieved of liability
       only for his/her own acts of negligence. The clause must be construed strictly and
       the contract must state the intention of the parties with the greatest particularity.
       Furthermore, any ambiguity must be construed against the party seeking
       immunity, and that party also has the burden of proving each of the prerequisites
       to enforcement.”

Valhal Corp. v. Sullivan Assocs., Inc., 44 F.3d 195 (3rd Cir. 1995), citing Topp Copy, 626 A.2d at
99. Furthermore, the burden of establishing immunity is upon the party invoking protection
under such a clause. Tayar, 47 A.3d at 1196.
       The law “abhors forfeitures and penalties and enforces them with the greatest reluctance
when a proper case is presented.” Acme Markets, Inc. v. Federal Armored Exp., Inc., 437
Pa.Super. 41, 48, 648 A.2d 1218, 1221 (1994), quoting Fogel Refrigerator Co. v. Oteri, 391 Pa.
188, 195, 137 A.2d 225, 231 (1958).
       As Davison readily concedes, and indeed affirmatively argues, the clause purports to
exculpate Davison from any liability whatsoever. However, clauses that exculpate liability for
gross negligence and higher levels of fault are void and against Pennsylvania public policy.
Feleccia v. Lackawanna Coll., 215 A.3d 3, 20-21 (Pa. 2019), citing Tayar, 47 A.3d at 1203. By
Davison ‘s own arguments, the clause is void as against public policy.              The clause is
unenforceable.
       The clause also involves a matter of public interest. As discussed, supra, the Texas
Invention Development Services Act requires specific disclosures as to the success rate of the
development services. The disclosures were false and conflicted with those made on Davison’s
website. As discussed, Davison’s success in developing inventions was vanishingly small.
Davison’s failure to make statutory disclosures involved a matter of public interest.
Furthermore, Pennsylvania has expressed public interest through the passage and recent




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expansion of the UTPCPL into a strict liability standard. Accordingly, the exculpatory clauses
are unenforceable.
       The clause fails to address and does not explicitly disclaim any liability flowing out of its
own negligence, gross negligence, recklessness, or intentional acts. To be enforceable, “the
contract must state the intention of the parties with the greatest particularity, beyond doubt by
express stipulation, and no inference from words of general import can establish the intent of the
parties,” that is to say, the clause must specifically establish which conduct is being disclaimed
from liability. Tayar, 47 A.3d at 1196; Topp Copy, 626 A.2d at 99. The clause simply states the
“The liability of the parties for any and all claims…” is limited. The clause fails to specify
which levels of fault and what kinds of behavior are being disclaimed. The text of the language
lacks any semblance of “greatest particularity,” puts nothing “beyond doubt by express
stipulation,” and contains absolutely nothing but “words of general import.” As such, the clause
fails to meet the test for enforceability under Pennsylvania law. The clause is unenforceable.
       Finally, Davison carries the burden of proof to establish that the exculpatory language is
enforceable under Pennsylvania law, a burden that Davison does not and cannot meet. The
clauses are simply unenforceable.
       In Pennsylvania, exculpatory clauses are invalid under three conditions: “First, the clause
must not contravene public policy. Secondly, the contract must be between persons relating
entirely to their own private affairs and thirdly, each party must be a free bargaining agent to the
agreement so that the contract is not one of adhesion.” Topp Copy, 626 S.2d 98,99 (Pa. 1993).
       “An adhesion contact is defined as a standard form contract prepared by one party, to be
signed by the party in a weaker position, [usually] a consumer, who has little choice about the
terms.” Lytle v. CitiFinancial Servs., Inc., 810 A.2d 643, 658 (Pa. Super. 2002). When a party
has no knowledge of the applicable industry, no chance to negotiate the terms of the contract,
and no choice but to accept the terms and conditions, the terms become unenforceable terms of
exculpatory adhesion. Id.
       In addition to terms being unlawful exculpatory clauses, the terms are also
unconscionable and void. In Pennsylvania, “a contract or term is unconscionable, and therefore
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avoidable, where there is a lack of meaningful choice in the acceptance of the challenged
provision [procedural unconscionability], and the provision unreasonably favors the party
asserting it [substantive unconscionability].   Salley v. Option One Mortgage Corp., 925 A.2d
115 (2007). The highly vaunted contractual disclaimers of liability are also unconscionable and
void.
                                     VII.     DAMAGES
        Davison’s breach of contract, torts, and violations of the UTPACPL led to the loss of
Scorza’s most valuable asset, his eminently patentable invention. His damages are the value of
the botched patent that can never be recovered, $3.4 million over a 10-year period.
        Dr. Kenneth Lehrer, in his oral testimony and in his Initial Expert Report, testified that
the best way to value lost patent rights is through a model business enterprise, producing and
selling the invention. Cl. 38, p. 4, 8-10. Dr. Lehrer refers to the enterprise model also as “The
Theory of the Firm.” Id., p. 8-10. “The value of the firm is the present value of the firm’s
expected future net cash flows.” Id., p. 9.
        Dr. Lehrer testified that, twenty-five (25) years ago, the most appropriate business
enterprise model for a patent or invention would be a firm that sold the product in retail brick and
mortar establishments. However, due to the internet retail revolution, the most typical business
enterprise model today for a consumer good is to produce the good in China, or a similar low-
cost location, and to sell them through an online retail platform, such as Amazon.
        Typically, a future or hypothetical business is valued by means of a sensitivity analysis,
also known as a Monte Carlo analysis. A sensitivity analysis is a variation on a set of scenarios
or the process of varying model input parameters over a reasonable range (range of uncertainty
in values of the model’s parameters) and observing the relative change in the model’s response.
Typically, a business would be simulated by comparing several market share captures, typical for
new businesses in the industry, and the size of the market for the industry. Dr. Lehrer testified
that this method is often used for merger or acquisition fairness opinions when target companies
feature a new product. It is also used and found reliable in SEC filings, particularly those
featuring forward-looking statements. Dr. Lehrer testified that he has previously performed

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Monte Carlo analyses that have been in use in merger and acquisition fairness opinions and SEC
filings. Monte Carlo analyses are admissible under the Federal Rules of Evidence and have been
found to satisfy the Daubert test. Lyondell Chem. Co. v. Occidental Chem. Corp., 608 F.3d 284,
293-94 (5th Cir. 2010).
       Dr. Lehrer testified that the personal scales market is a growing market in the United
States and is currently valued at $670 million per year. Typical conservative market captures for
new products in the consumer goods market would run in the 0.08% to 0.12% of the market. A
price per unit in the $20-25 range would be appropriate for the new product, based on similar
competitive products.
       Dr. Lehrer testified that he consulted with Amazon Co., as well as with a customs broker
and import-export attorney to appropriately model costs and expenses for his business enterprise
model. He accounted for: cost of goods sold, manufacturing fees, an Amazon 10 year Retailer
Plan; Amazon’s commission per unit sold; container costs for import; harbor maintenance fees;
tariffs; warehouse transport costs; Customs goods examination costs, customs brokerage fees;
yearly import bond; demurrage; inspection fees; insurance; and miscellaneous costs. Applying
these expenses, Dr. Lehrer found the cost of goods sold in the 15% range, and the costs and
expenses in the 30-33% of revenues, resulting in profits in the 47-50% of revenue range.
       Simply applying Dr. Lehrer’s proposed market capture numbers lead to some proposed
scenarios. A low range capture of 0.08% of the $670 million per year market would lead to
revenues of $536,000/year. Over a 10-year product life cycle this would represent around $2.5
million in lost profits. As Dr. Lehrer testified, he would not account for inflation, so as to not
necessitate a discount to present value analysis.
       Similarly, a mid-range number of market capture of 0.10% would lead to yearly revenues
of $670,000, and total lost profits around $3.7 million. A high range market capture of 0.12%
would lead to yearly revenues of $804,000, and total lost profits of around $4.1 million.
Averaging these values leads to a patent valuation of around $3.45 million. Weighted averages
could also be calculated.


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        Scorza also seeks a return of the money that he paid to Davison in the amount of
$21,042.25. See Cl. 48, Idea Submission Agreement ($795.00); Cl. 11, New Product Sample
Agreement ($14,757.25); Cl. 44, Inventomercial Agreement ($1495.00); Cl. 49, MCC
Agreement ($3,995.00).
                                 VIII.    CONCLUSION
        Davison deceived a man in his late 70’s, relentlessly selling him useless contracts,

sucking dry his life savings, which were intended to benefit his grandson’s college education and

his disabled daughter. Ultimately, even worse for him, they were utterly incompetent at even the

relatively minimal tasks that they did set out to do. Davison botched his first patent application

by failing to include the fee or the supporting documents. They then failed to include the proper

fee with the second application. The application could have been saved by means of forwarding

a simple $5.00 check to the USPTO in order to correct the monumental error. Davison simply

never bothered

        However, Davison was never really in the business of obtaining patent right or royalties

for their inventors. Davison is in the business of selling contracts, from which it derives

essentially all of its revenue. When Scorza repeatedly begged Davison’s help for what to do in

response to repeated notices from the USPTO, Frank Vescio, whose motto was clearly “always

be closing,” ignored his requests and sold him two more useless contracts, sucking a few more

thousand dollars from the hapless Scorza. Meanwhile Scorza’s patent application, and all his

rights, died at the USPTO due to Davison’s reckless disregard and utter malfeasance.

        Claimant requests this Tribunal to restore the value of Scorza’s lost patent rights.

Claimant requests any and all other relief, either at law or in equity, to which he may show

himself justly entitled.




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                      CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the
foregoing document has been served on the following parties and/or counsel
pursuant to the applicable procedure on this 3rd day of March, 2023.

Scott D. Livingston
Sharon Durkin
George Crompton
Justin T. Barron


                                          /s/ Stacey L. Barnes
                                          Stacey L. Barnes




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